     Case 20-18488-MBK          Doc 749       Filed 03/22/22 Entered 03/22/22 16:27:01                          Desc Main
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                                               State of New Jersey
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                                                   TRENTON, NJ 08625-0106


                                                     March 22, 2022

       VIA CM/ECF
       Hon. Michael B. Kaplan
       United States Bankruptcy Court
         for the District of New Jersey
       Clarkson S. Fisher U.S. Courthouse
       402 East State St.
       Trenton, NJ 08608

                      Re:     CC Oldco Corporation
                              Case No. 20-18488 (MBK)

       Dear Chief Judge Kaplan:

               I represent the New Jersey Department of Labor, Division of Employer Accounts
       (“Division”) in the above-referenced case. There is a hearing scheduled for March 24, 2022 to
       consider entry of the final decree and closure of the case. The Division filed a proof of claim
       (Claim No. 164), which included a priority tax claim. The Liquidation Trustee’s most recent post-
       confirmation report (Doc. No. 745) indicates that 100% of priority claims have been
       paid. However, the Division’s records do not show payment of its priority tax claim. I have
       reached out to the Liquidation Trustee’s counsel on several occasions, but no substantive response
       has yet been received. The most recent communication from Ms. Seymour stated that she would
       review and advise. I would appreciate the Court allowing the Trustee’s counsel whatever time she
       deems necessary to address this issue prior to entry of the final decree and case closure.

                                                 Respectfully yours,

                                                 MATTHEW J. PLATKIN
                                                 ACTING ATTORNEY GENERAL OF NEW JERSEY


                                                 By: /s/ Valerie Hamilton________________________
                                                    Valerie Hamilton
                                                    Deputy Attorney General




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